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    1   (Counsel Listed on Signature Page)
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                           UNITED STATES DISTRICT COURT
    9
                         CENTRAL DISTRICT OF CALIFORNIA
  10
  11     SPEAKWARE, INC.,                     Civil Action No.
  12                  Plaintiff,              8:18-cv-01293-DOC (DFMx)
             v.                               Lead case
  13
         MICROSOFT CORP.,                     DEFENDANTS’ NOTICE OF
  14                 Defendant.               MOTION AND RENEWED
                                              MOTION TO STAY PENDING
  15                                          INTER PARTES REVIEW
  16
                                              Hon. Judge David O. Carter
  17                                          Date: June 24, 2019
                                              Time: 8:30 a.m.
  18                                          Courtroom: 9D
  19
  20                                          Civil Action No.
         SPEAKWARE, INC.,                     8:18-cv-01299-DOC (DFMx)
  21                  Plaintiff,
             v.
  22
  23     GOOGLE LLC,
                          Defendant.
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                                                       DEFENDANTS’ NOTICE OF MOTION
                                                      AND MOTION TO STAY PENDING IPR
                                                              8:18-CV-01293-DOC(DFMx)
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    1                                         Civil Action No.
         SPEAKWARE, INC.,                     8:18-cv-01300-DOC (DFMx)
    2                 Plaintiff,
    3        v.

    4    SAMSUNG ELECS. CO., LTD. and
         SAMSUNG ELECS. AMERICA, INC.
    5                Defendants.
    6
                                              Civil Action No.
    7    SPEAKWARE, INC.,                     8:18-cv-01302-DOC (DFMx)
                      Plaintiff,
    8        v.
    9    APPLE INC.,
  10                      Defendant.
  11                                          Civil Action No.
         SPEAKWARE, INC.,                     8:18-cv-01303-DOC (DFMx)
  12                  Plaintiff,
  13         v.

  14     AMAZON.COM, INC.,
                     Defendant.
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                                                       DEFENDANTS’ NOTICE OF MOTION
                                                      AND MOTION TO STAY PENDING IPR
                                                              8:18-CV-01293-DOC(DFMx)
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    1   TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
    2   DISTRICT OF CALIFORNIA AND TO ALL PARTIES:
    3         PLEASE TAKE NOTICE THAT on June 24, 2019, at 8:30 a.m., or as soon
    4   as the matter may be heard thereafter, before the Honorable David O. Carter in
    5   Courtroom 9D of the United States District Court for the Central District of
    6   California, Santa Ana Division, located at 411 W. 4th Street, Santa Ana, CA 92701,
    7   Defendants Microsoft Corporation, Google LLC, Samsung Electronics Co., Ltd.,
    8   Samsung Electronics America, Inc., Apple Inc., and Amazon.com, Inc.
    9   (“Defendants”) will and do move this Court for an Order for a stay of litigation
  10    pending final resolution of inter partes review proceedings challenging U.S. Patent
  11    No. 6,397,186.
  12          Defendants’ motion is based on this Notice, the accompanying Memorandum
  13    of Points and Authorities, all pleadings and papers on file in this action, and such
  14    other argument and evidence as may be presented to the Court before or at the
  15    hearing on this matter.
  16          This motion is made following the conference of counsel pursuant to L.R.
  17    7-3, which took place on May 17, 2019.
  18
  19    Dated: May 24, 2019                    Respectfully submitted,
  20                                           By: /s/ Luann L. Simmons
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                                                  1           AND MOTION TO STAY PENDING IPR
                                                                      8:18-CV-01293-DOC(DFMx)
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                                            2         AND MOTION TO STAY PENDING IPR
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Case 8:18-cv-01293-DOC-DFM Document 63 Filed 05/24/19 Page 5 of 6 Page ID #:1313



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    1                                  ECF ATTESTATION
    2         I, Luann Simmons, am the ECF User whose ID and password are being used
    3   to file DEFENDANTS’ NOTICE OF MOTION AND RENEWED MOTION
    4   TO STAY PENDING INTER PARTES REVIEW. In accordance with Local
    5   Rule 5-4.3.4, concurrence in and authorization of the filing of this document has
    6   been obtained from all of the signatories listed above.
    7
        Dated: May 24, 2019                     O’MELVENY & MYERS LLP
    8
    9
                                                By:    /s/ Luann L. Simmons
  10                                                   Luann L. Simmons
  11                                                   Attorneys for Defendant
                                                       GOOGLE LLC
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                                                  4          AND MOTION TO STAY PENDING IPR
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